AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



                                        UNITED STATES DISTRICT COURT
                                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
UNITED STATES OF AMERICA                                                           JUDGMENT IN A CRIMINAL CASE
                                                                                   (For Revocation of Probation or Supervised Release)
          V.                                                                       (For Offenses Committed On or After November 1, 1987)



JAMES BRANDON THOMAS                                                               Case Num ber: DNCW 108CR000079-005
                                                                                   USM Num ber: 22335-058

                                                                                   W illiam E. Loose
                                                                                   Defendant’s Attorney

THE DEFENDANT:

X         adm itted guilt to violation of condition(s) 1, 2, 3 and 4 of the term of supervision.
          W as found in violation of condition(s) count(s)           After denial of guilt.

ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violations(s):



                                                                                                          Date Violation
 Violation Num ber                    Nature of Violation                                                 Concluded

          1                           FAILURE TO COMPLY W ITH DRUG TESTING /                              8/28/2012
                                      TREATMENT REQUIREMENTS

          2                           FAILURE TO COMPLY W ITH DRUG TESTING /                              9/26/2012
                                      TREATMENT REQUIREMENTS

          3                           FAILURE TO REPORT CHANGE IN RESIDENCE                               9/29/2012

          4                           FAILURE TO SUBMIT MONTHLY SUPERVISION                                9/5/2012
                                      REPORTS                                                             10/5/2012



       The Defendant is sentenced as provided in pages 2 through 5 of this judgment. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984, United States v. Booker, 125 S.Ct. 738 (2005), and 18 U.S.C. § 3553(a).

          The Defendant has not violated condition(s)                         And is discharged as such to such violation(s) condition.

        IT IS ORDERED that the Defendant shall notify the United States Attorney for this district within 30 days of any
change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents im posed by this
judgm ent are fully paid. If ordered to pay m onetary penalties, the defendant shall notify the court and United States
attorney of any m aterial change in the defendant’s econom ic circum stances.

                                                                                   Date of Im position of Sentence: 11/20/2012

                                                                                      Signed: December 12, 2012




                 Case 1:08-cr-00079-MR-DLH                         Document 160             Filed 12/13/12       Page 1 of 3
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation



Defendant: JAMES BRANDON THOMAS                                                                          Judgm ent-Page 2 of 3
Case Num ber: DNCW 108CR000079-005

                                                                  IM PRISONM ENT

        The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
term of TEN (10) MONTHS.




X         The Court m akes the following recom m endations to the Bureau of Prisons:

          - Participate in any educational and vocational opportunities.
          - Participate in any available substance abuse treatm ent program and if eligible receive benefit of
            18 U.S.C. § 3621(e)(2).
          - Support all dependents from prison earnings.
          - Participate in the Federal Inm ate Financial Responsibility Program

X         The Defendant is rem anded to the custody of the United States Marshal.

          The Defendant shall surrender to the United States Marshal for this District:

                               as notified by the United States Marshal.

                                at___a.m . / p.m . on ___.

          The Defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

                               as notified by the United States Marshal.

                                before 2 p.m . on ___.

                               as notified by the Probation Office.

                                                                        RETURN

          I have executed this Judgm ent as follows:




       Defendant delivered on __________ to _______________________________________ at
________________________________________, with a certified copy of this Judgm ent.


___________________________________________
             United States Marshal


                                                    By: _______________________________________
                                                                  Deputy Marshal



                 Case 1:08-cr-00079-MR-DLH                         Document 160    Filed 12/13/12   Page 2 of 3
AO 245D (W D N C R ev. 4/04) Judgm ent in a Crim inal C ase for R evocation


Defendant: JAMES BRANDON THOMAS                                                                                   Judgm ent-Page 3 of 3
Case Num ber: DNCW 108CR000079-005

                                                      CRIM INAL M ONETARY PENALTIES

The defendant shall pay the following total crim inal m onetary penalties in accordance with the Schedule of Paym ents.


                ASSESSM ENT                                                   FINE                          RESTITUTION

                      $0.00                                               $0.00                                   N/A



X                   In all other respects, the term s of the original judgm ent [Doc. 99 ] in this m atter rem ain in full force and effect,
                    including the order to pay court-appointed counsel fees as set forth therein, a balance rem aining of $490.00.

                    The determ ination of restitution is deferred until              . An Amended Judgment in a Criminal Case (AO
                    245C) will be entered after such determ ination.

                                                                              FINE


         The defendant shall pay interest on any fine or restitution of m ore than $2,500.00, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgm ent, pursuant to 18 U.S.C. § 3612(f). All of the paym ent options
on the Schedule of Paym ents m ay be subject to penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

                    The court has determ ined that the defendant does not have the ability to pay interest and it is ordered that:


                    The interest requirem ent is waived.

                    The interest requirem ent is m odified as follows:


                                                    COURT APPOINTED COUNSEL FEES

                    The defendant shall pay court appointed counsel fees.

                    The defendant shall pay $                         towards court appointed fees.




                 Case 1:08-cr-00079-MR-DLH                         Document 160          Filed 12/13/12     Page 3 of 3
